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       a/lc/a CCG P5''
PETER D A VIS PER EZ G U TIERR EZ,
       a/k/a Gpeter Jr.,''and
JO SE E STU A RD O M O R ALE S D IA Z,
       a/k/a içpepe M orales,''

       D efendants.
                                           /

                                      IN D IC TM EN T

       The Grand Jury chargesthat:

                                        COUNT 1
                        C onspiracy to Com m itM oney L aundering
                                     (18U.S.C.j1956(h))
       Begimzing in or around M ay 2012,and continuing through in oraround M arch 2017,in

M iam i-D ade County,in the Southern D istrictofFlorida,and elsew here,the defendants,

                           PED RO D A VID PER EZ M IM ND A ,
                                   a/lk/a çfpeter Ferrari,''
                                        a/k/a Rpeter,''
                           G IA N PIER E PE REZ G UT IER R EZ,
                                         a/k/a CCG P5''
                          PETER D AV IS PER EZ G U TIER REZ,
                                   a/k/a Eçpeter Jr.,''and
                          JO SE ESTUARDO M O M LES DlA A
                                   a/k/a Eipepe M oralesr''
Case 1:17-cr-20814-UU Document 3 Entered on FLSD Docket 11/17/2017 Page 2 of 9



did know ingly and w illfully com bine, conspire, confederate, and agree w ith SA M ER H .
                                                                                               j'
BA RRA GE, REN ATO J. RO D RIG U EZ, JUAN P. G RAN D A and other persons know n and

unknow n to the Grand Jury,to com m itoffensesdefined in Title 18,United States Code,Sections

1956 and l957,thatis:

                       To know ingly transport, transm it and transfer funds from a place in the

       United States to orthrough a plaee outside the United States and to a place in the U nited

       States from or through a place outside the United States,W ith the intentto prom ote the

       carrying on of specified unlaw ful activity,in violation of Title 18,U nited States Code,

        Section 1956(a)(2)(A);and
               (b)     Toknowinglyengage,intheUnitedStatesandasaUnitedStatesperson,in
       a m onetary transaction by,through and to a financialinstitution,affecting interstate and

       foreign comm erce,in criminally delived property ofa value greaterthan $10,000 such

       property having been derived from specified unlaw ful activity,in violation of Title 18,

       United StatesCode,Section 1957.

       ltisfurtheralleged thatthe specified unlaw fulactivity is:

       (a)     Theentryofgoodsbymeansoffalsestatements,in violation ofTitle 18,United
States Code,Section 542,
                       .

       (b)     Anoffenseagainstaforeignnation,thatis,thecrimeofillegalminingagainstthe
Republic ofPeru,w ith respectto which the U nited Statesw ould be obligated to by a m ultilateral

treaty,eitherto extradite the alleged offenderorto subm itthe case forprosecution,ifthe offender

w ere found within the territol-y ofthe U nited States'
                                                      ,

               A n offense against a foreign nation,that is,the erim e of sm uggling against the

Republic ofPet'
              u,w ith respectto which the U nited Statesw ould be obligated to by a m ultilateral
Case 1:17-cr-20814-UU Document 3 Entered on FLSD Docket 11/17/2017 Page 3 of 9



treaty,eitherto extraditetheallegedoffenderorto subm itthecase forprosecution,iftheoffender

were found w ithin the terlitory ofthe U nited States'
                                                     ,

       (d)     An offenseagainstaforeignnation involvingthemanufacture,importation,sale,
ordistributionofacontrolledsubstance(assuchterm isdefinedforthepurposeoftheControlled
SubstancesActl;and
       (e)     An offenseagainstaforeiplnation involvingbribery ofapublic oftkial,orthe
m isappropriation,theft,orem bezzlem entofpublic fundsby or forthe benefitofa public official.

       Allinviolation ofTitle18,UnitedStatesCode,Sections1956(h)and 195649.
                               FO R FEITU R E A LLEG A TIO N S
               The allegations of this lndictm ent are re-alleged and by this reference fully

incorporated herein forthe purpose ofalleging crim inalforfeiture to the United StatesofA m erica

ofcertain property in w hich the defendant,PED RO D AV ID PER EZ M IR AN DA ,a/k/a Gpeter

Ferrari,''a/lk/a ççpeter,''G IA N PIER E PERE Z G U TIER RE Z,a/k/a EEG P,''PETE R DA VIS

PER EZ G UTIERR EZ,a/k/a ççpeter Jr.,''and JO SE E ST UA RD O M O M L ES D IA Z,a/k/a

tfpepe M orales,''have an interest.
Case 1:17-cr-20814-UU Document 3 Entered on FLSD Docket 11/17/2017 Page 4 of 9



                                     Upon conviction of a violation of Title 18,United States Code,Section 1956,or

conspiracy to com m itsuch violation,the defendant shallforfeit to the U nited States ofA m erica

any property, real or personal, involved in such offense, and any property traceable to such

property.AllpursuanttoTitle 18,United StatesCode,Sections982(a)(l),Title21,UnitedStates
Code,Section853,andTitle28,UnitedStatesCode,Section2461(c).

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A SSISTAN T UN ITED STA TES A TTO RN EY
 Case 1:17-cr-20814-UU Document 3 Entered on FLSD Docket 11/17/2017 Page 5 of 9
                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

UNITED STATES O F AM ERICA                     CASE NO.
VS.
PEDRO DAVID PEREZ M IRA NDA,                   CERTIFICATE OF TRIA L ATTO RNEY*
alkla ''PeterFerrari,''etaI.,
                    Defendants.       I
                                               Superseding Case Information:


CourtDivision:(sel
                 ectone)                       New Defendantts)                   Yes        No
                                               NumberofNew Defendants
                                               Totalnum berofcounts
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                          Ke)BWest     FTp
       Ido hereby certifythat:
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                probablewi
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       2.       Iam Mware thatthe information supplied gn thij qtaterpentwillbe relied upon bythe Judges ofthis
                CourtInsettingtheirçal
                                     endarsandschedull  ng crlmlnaltrlalsunderthemandateofthe SpeedyTrialAct,
                Title 28 U.S.C.Sectlon 3161.
       3.       Iqterpreter:     (YesgrNo)      Yes
                LIstIanguage and/ordlalect             Spani
                                                           sh
      4.        This case w illtake    21      daysforthe padiesto try.
       5.       Pl
                 ease checkappropriate categoryand type ofoffense Iisted below :
                (Checkonlyone)                                  (Checkonlyone)
                0 to 5 days                                               Petty
                6 to 10days                                               M inor
                11to 20 days                                              M isdem .
                21to 60 days                      X                       Felony        X
                61daysandover
      6.        HasthiscasebeenpreviouslyfiledinthisDi
                                                     strictCoud? (YesorNo)              N0
       Ifyes:
       Judge:                                         Case No.
       (Attachcopygfdispositiveprdej
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        asacompl
               alntbeenfiled lnthlsmatter?            (YesorNo)              No
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       Related Misc:llaneousnumbers:
       Defendantts)lnfederalcustodyasof
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        efendantls)Instate custody as of
       Rule 20 from the                               Districtof
       Isthisapotenti
                    aldeathpenal
                               tycase?(YesorNo)                    No
                Doesthiscaseoriginatefrom amatterpending intheNodhernRegionofthe U.S.Attorney'sOfficeprior
                to October14,20-03:2        Yes        X No

      8.        Doesthi scaseoriginatefrom am atterpending inthe CentralRegionoftheU .S.Attorney'sO#ice prior
                to Septem ber1,2007*         Yes        X' No




                                                      F NCISCO . D          L
                                                      A ISTANT UN I  TED STATES ATTO RNEY
                                                      Flori
                                                          da BarNo./courtNo.0041481

ApenaltySheetts)attached                                                                           REV10/2013
Case 1:17-cr-20814-UU Document 3 Entered on FLSD Docket 11/17/2017 Page 6 of 9



                        UN ITED STA TES DISTR IC T C O U R T
                        SO U TH ER N D ISTRIC T O F FLO R IDA

                                   PEN A LTY SH EET


D efendant's N am e: PEDRO DAVID PEREZ M IRANDA ,a/k/a çipeterFerrari,''a/k/a ttpeter''

C ase No:

Count#:1

Conspiracy to Com m itM oney Laundering

Title18,United StatesCode,Section 1956(h)
*M ax.Penalty: 20 years'im prisonm ent




*Refers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
         specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:17-cr-20814-UU Document 3 Entered on FLSD Docket 11/17/2017 Page 7 of 9



                         U NITED STATE S D ISTR ICT C O U R T
                         SO U TH ERN D ISTR ICT O F FL O R ID A

                                   PENA LTY SH EE T


D efendant'sN am e: G IA N PIER E PER EZ G U TIE RR EZ,a/k/a RG P''

C ase N o:

Count#:l

Conspiracy to Com m itM oney Laundering

Title18,UnitedStatesCode,Section 1956(h)
*M ax.Penalty: 20 years'im prisonm ent




*Refers only to possible term ofincarceration,does notinclude possible fines,restitution,
         specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:17-cr-20814-UU Document 3 Entered on FLSD Docket 11/17/2017 Page 8 of 9



                         U NITED STATE S D ISTR ICT C O U R T
                         SO U TH ERN D ISTR ICT O F FLO RID A

                                   PENA LTY SH EE T


Defendant'sN am e: PETER DA VIS PER EZ G U TIER REZ ,a/k/a ççpeter Jr.''

Case N o:

Count#:1

Conspiracy to Com m itM oney Laundering

Title 18,UnitedStatesCode,Section 1956(h)
*M ax.Penalty: 20 years'im prisonm ent




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Case 1:17-cr-20814-UU Document 3 Entered on FLSD Docket 11/17/2017 Page 9 of 9



                         U NITED STA TE S D ISTR ICT C O U R T
                         SO U TH E RN D ISTR ICT O F FLO RID A

                                   PE NA LTY SH EET


Defendant's N am e: JO SE E STU A RD O M O R ALE S D IAZ,a/k/a Rpepe M orales,''

Case N o:

Count#:1

Conspiracy to Com m itM oney Laundering

Title18,UnitedStatesCode,Section l95641-
                                       1)
*M ax.Penalty: 20 years'im prisonm ent




*ltefers only to possible term ofincarceration,does notinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
